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                                    Exhibit A

                       Detailed Statement of Hours and Fees




124847520
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE




IN RE:                                                                                     } CHAPTER 11 CASE
                                                                                           }
Lordstown Motors Corp.                                                                     } Case No. 23-10831
                                                                                           }
                                                                                           }
                                                                                           }

TIME SUMMARY - December 1 to December 31, 2023
                                 Billing                       % of
                                  Rate     Total Billable      Total         $ Amount
            Consultant           Per Hr.      Hours            Time            Time

     Constadinos Tsitsis (CDT)    $525        19.20             5%            $10,080.00                           80%     $8,064.00
         Scott Kohler (SK)        $525         97.60            25%           $51,240.00                           80%    $40,992.00
      Steven Nerger ( SAN )       $350        10.30              3%            $3,605.00                           80%     $2,884.00
          Alex Bauer (AB)         $320          0.50             0%              $160.00                           80%       $128.00
       Ellen Hammes (EH)          $290        119.60            30%           $34,684.00                           80%    $27,747.20
      Michael Mollerus (MM)       $270          2.00             1%              $540.00                           80%       $432.00
       Alex Crnkovich (AC)        $270        148.70            37%           $40,149.00                           80%    $32,119.20


Total Due - Fees                              397.90           100%          $140,458.00               80%               $112,366.40
Blended Rate                     $353.00
                                                                                                    Expenses
                                                                                                  Administrative           $1,321.68
                                                                                                     Airfare                   $0.00
                                                                                                      Meals                    $0.00
                                                                                                     Lodging                   $0.00
                                                                                                  Transportation               $0.00

                                                                  Total Expenses                                           $1,321.68

                                                                           Fees                                          $112,366.40


                                                               Amount Requested                                          $113,688.08




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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF DELAWARE



IN RE:                                                      }   CHAPTER 11 CASE
                                                            }
Lordstown Motors Corp.                                      }   Case No. 23-10831
                                                            }
                                                            }
                                                            }

EXHIBIT B - December 1 TO December 31, 2023 SUMMARY BY PROJECT CATEGORY - In Hours


                        TIME SUMMARY                                                                   Consultants


                    Project Category Summary                      CDT           SK        SAN     AB          EH       MM      AC      TOTAL



    1.   Business Analysis and Reports                               2.70         6.90     0.00    0.00        54.90    0.00   11.50      76.00

         Preparation of Budgets, Availability Reports,
   1-1   Business Evaluation and Flash Reports                       -            -         -      -          43.90     -      0.50       44.40

   1-2   Preparation of Financial Data to Support Motions           2.70         6.90       -      -          10.30     -      8.10       28.00

   1-3   Preparation of Financial Projections                        -            -         -      -            0.70    -      2.90        3.60

   1-4   Plan Development & Strategy                                 -            -         -      -            -       -       -          0.00

   1-5   Preparation of Plan and Disclosure Statement                -            -         -      -            -       -       -          0.00




    2.   Business Operations                                         0.00         7.20     0.00    0.00         7.00    0.00    7.00      21.20


   2-1   Daily Management and Operations                             -           7.20       -      -            7.00    -      7.00       21.20

   2-2   Reports to / from Parties in Interest                       -            -         -      -            -       -       -          0.00
         Meetings / communications with lender, lender's
   2-3   agent or its counsel                                        -            -         -      -            -       -       -          0.00

   2-4   Sale of Company Matters                                     -            -         -      -            -       -       -          0.00




    3.   Meetings and Communication with Creditors                   0.00         0.00     0.00    0.00         0.00    0.00    0.00       0.00


   3-1   341 Creditors Meeting                                       -            -         -      -            -       -       -          0.00

   3-2   Meetings/communication with lenders                         -            -         -      -            -       -       -          0.00

   3-3   Creditor communications & negotiations                      -            -         -      -            -       -       -          0.00

   3-4                                                               -            -         -      -            -       -       -          0.00



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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF DELAWARE



IN RE:                                                    }   CHAPTER 11 CASE
                                                          }
Lordstown Motors Corp.                                    }   Case No. 23-10831
                                                          }
                                                          }
                                                          }

EXHIBIT B - December 1 TO December 31, 2023 SUMMARY BY PROJECT CATEGORY - In Hours


                       TIME SUMMARY                                                                   Consultants


                    Project Category Summary                    CDT           SK        SAN      AB          EH       MM       AC      TOTAL




    4.   Case Administration                                      16.50        83.50     10.30    0.50        57.70    2.00   130.20      300.70


   4-1   Travel                                                    -            -         -       -            -       -         -         0.00

   4-2   Case Administration                                     15.00        82.30      0.50     0.50       43.50     2.00   130.20     274.00

   4-3   Monthly Operating Reports                                 -            -        9.80     -            2.50    -         -        12.30

   4-4   Bankruptcy Schedules, SOFA and IDI information            -            -         -       -            -       -         -         0.00

   4-5   Fee Application Preparation                              1.50         1.20       -       -          11.70     -         -        14.40




                    TOTAL December, 2023                         19.20        97.60     10.30    0.50       119.60    2.00    148.70     397.90




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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                          FOR THE DISTRICT OF DELAWARE



IN RE:                                                      }   CHAPTER 11 CASE
                                                            }
Lordstown Motors Corp.                                      }   Case No. 23-10831
                                                            }
                                                            }
                                                            }

EXHIBIT B - December 1 to December 31, 2023      SUMMARY BY PROJECT CATEGORY - In Dollars


                        TIME SUMMARY                                                                   Consultants

                                                                   $525        $525       $350      $320         $290       $270       $270
                    Project Category Summary                       CDT          SK        SAN        AB           EH        MM          AC        TOTAL




    1.   Business Analysis and Reports                            $1,417.50   $3,622.50     $0.00     $0.00    $15,921.00     $0.00   $3,105.00   $24,066.00

         .. Blended Rate                                                                                                                            $316.66

         Preparation of Budgets, Availability Reports,
   1-1   Business Evaluation and Flash Reports                       $0.00        $0.00     $0.00     $0.00    $12,731.00     $0.00    $135.00    $12,866.00

   1-2   Preparation of Financial Data to Support Motions         $1,417.50   $3,622.50     $0.00     $0.00     $2,987.00     $0.00   $2,187.00   $10,214.00

   1-3   Preparation of Financial Projections                        $0.00        $0.00     $0.00     $0.00      $203.00      $0.00    $783.00      $986.00

   1-4   Plan Development & Strategy                                 $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00

   1-5   Preparation of Plan and Disclosure Statement                $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00




    2.   Business Operations                                         $0.00    $3,780.00     $0.00     $0.00     $2,030.00     $0.00   $1,890.00    $7,700.00

         .. Blended Rate                                                                                                                            $363.21


   2-1   Daily Management and Operations                             $0.00    $3,780.00     $0.00     $0.00     $2,030.00     $0.00   $1,890.00    $7,700.00

   2-2   Reports to / from Parties in Interest                       $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00
         Meetings / communications with lender, lender's
   2-3   agent or its counsel                                        $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00


   2-4   Sale of Company matters                                     $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00




    3.   Meetings and Communication with Creditors                   $0.00        $0.00     $0.00     $0.00         $0.00     $0.00      $0.00         $0.00
         .. Blended Rate                                                                                                                               $0.00




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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE DISTRICT OF DELAWARE



IN RE:                                                  }   CHAPTER 11 CASE
                                                        }
Lordstown Motors Corp.                                  }   Case No. 23-10831
                                                        }
                                                        }
                                                        }

EXHIBIT B - December 1 to December 31, 2023    SUMMARY BY PROJECT CATEGORY - In Dollars


                       TIME SUMMARY                                                                   Consultants

                                                               $525         $525        $350       $320         $290       $270        $270
                   Project Category Summary                    CDT           SK         SAN         AB           EH        MM           AC         TOTAL



   3-1   341 Creditors Meeting                                   $0.00         $0.00       $0.00     $0.00         $0.00     $0.00        $0.00         $0.00

   3-2   Meetings/communication with lenders                     $0.00         $0.00       $0.00     $0.00         $0.00     $0.00        $0.00         $0.00

   3-3   Creditor communications & negotiations                  $0.00         $0.00       $0.00     $0.00         $0.00     $0.00        $0.00         $0.00




    4.   Case Administration                                  $8,662.50   $43,837.50   $3,605.00   $160.00    $16,733.00   $540.00   $35,154.00   $108,692.00

         .. Blended Rate                                                                                                                              $361.46


   4-1   Travel                                                  $0.00         $0.00       $0.00     $0.00         $0.00     $0.00        $0.00         $0.00

   4-2   Case Administration                                  $7,875.00   $43,207.50    $175.00    $160.00    $12,615.00   $540.00   $35,154.00    $99,726.50

   4-3   Monthly Operating Reports                               $0.00         $0.00   $3,430.00     $0.00       $725.00     $0.00        $0.00     $4,155.00

   4-4   Bankruptcy Schedules and SOFA                           $0.00         $0.00       $0.00     $0.00         $0.00     $0.00        $0.00         $0.00

   4-5   Fee Application Preparation                           $787.50      $630.00        $0.00     $0.00     $3,393.00     $0.00        $0.00     $4,810.50




                     TOTAL December, 2023                   $10,080.00    $51,240.00   $3,605.00   $160.00    $34,684.00   $540.00   $40,149.00   $140,458.00


         .. Blended Rate                                                                                                                              $353.00




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  Date      Consultant                           Description                       Billable    No Charge



12/4/2023      AB        Call with SK, DT, AC, EH on status                             0.50               4-2
 MON                                          DAILY TOTALS                             0.50         0.00

                                    WEEKLY TOTAL - ( W/E 12/9/23 )                     0.50        0.00


                                 TOTAL - (December 1 to December 31, 2023 )            0.50        0.00




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  Date      Consultant                               Description                                 Billable    No Charge


                         Working through Claims analysis for TMT, Adronics, Marelli,
12/1/2023      AC        Henkel, St. Clair, Timken, Laval, Pierburg, ZF, and Harco                    4.00               4-2
12/1/2023      AC        ad hoc emails and communication                                              0.70               4-2
  FRI                                            DAILY TOTALS                                        4.70         0.00

                         call with M3 to discuss waterfall questions; Included A. Kroll and C.
12/2/2023      AC        Tsitsis                                                                      0.50               1-3
  SAT                                            DAILY TOTALS                                        0.50         0.00

                                       WEEKLY TOTAL - ( W/E 12/2/23 )                                5.20        0.00

12/4/2023      AC        prepping for supplier claims call                                            0.50               4-2
                         Supplier claims call - E. Hightower, A. Kroll, S. Kohler, A. Ciccone,
12/4/2023      AC        E. Hammes                                                                    0.50               4-2
                         W&C catch-up call; A. Kroll, C. Tsitsis, S. Kohler, E. Hammes, M.
12/4/2023      AC        Port, M. Leonard, A. Ciccone                                                 0.50               4-2

12/4/2023      AC        Finance call - A. Kroll, M. Port, C. Tsitsis, S. Kohler, E. Hammes           1.00               2-1
12/4/2023      AC        internal catch-up call; C. Tsitsis, E. Hammes, S. Kohler, A. Bauer           0.50               4-2
12/4/2023      AC        Analyzing AMP and Opentext Prepaid claim                                     1.50               4-2
12/4/2023      AC        Claims analysis - Harco, St. Clair, Tesca, Pierburg, 3D, Henkel,             3.50               4-2
12/4/2023      AC        Looking into M3 data requests                                                0.30               4-2
12/4/2023      AC        Ad hoc communication and emails                                              1.00               4-2
12/4/2023      AC        Filing time and expenses                                                                 0.50   4-2
 MON                                             DAILY TOTALS                                        9.30         0.50

12/5/2023      AC        Analysis of supplemental data submitted by Harco                             1.00               4-2
12/5/2023      AC        Contract analysis for termination clauses                                    0.80               1-2
                         Meeting with A. Kroll, M. Port, S. Kohler, A. Ciccone to discuss
12/5/2023      AC        AMP and Opentext prepaids                                                    1.00               4-2
12/5/2023      AC        Calls with Ellen to discuss updates to waterfall                             0.80               1-3
12/5/2023      AC        Reconciling updates to the claim tracker                                     0.80               4-2
                         Drafting contract assumption schedule - including calls with E.
12/5/2023      AC        Hammes, S. Kohler, C. Tsitsis                                                2.30               1-2
12/5/2023      AC        Drafting emails related to AMP and Open Text Disputes                        0.80               4-2
                         Reviewing claims documentations an analysis of claims to make sure
12/5/2023      AC        everything is in order for the ombudsman.                                    2.50               4-2
 TUES                                            DAILY TOTALS                                       10.00         0.00

                         Weekly finance call - A. Kroll, R. Agherbati, S. Kohler, E. Hammes,
12/6/2023      AC        M. Port                                                                      1.20               2-1

12/6/2023      AC        Reviewing and finalizing claim documentation for the ombudsman               1.80               4-2
12/6/2023      AC        Vendor claims communications - Pierburg, Tesca, Marelli, ZF                  1.00               4-2
12/6/2023      AC        Gather material for AMP demand letter                                        0.50               4-2
12/6/2023      AC        Calls with Jevita Johnson to determine Opentext facts                        0.50               4-2



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  Date       Consultant                               Description                                  Billable    No Charge


12/6/2023       AC        Communicate with E. Hammes on edits to Prepaids in the waterfall              0.50               4-2
12/6/2023       AC        Working through open claims investigations                                    1.00               4-2
12/6/2023       AC        Miscellaneous admin tasks and correspondence                                  1.50               4-2
  WED                                              DAILY TOTALS                                        8.00         0.00

                          Supplier Claims call - E. Hightower, M. Leonard, M. Port, S. Kohler,
12/7/2023       AC        E. Hammes                                                                     0.50               4-2
12/7/2023       AC        Liquidation analysis call; A. Kroll, E. Hammes, S. Kohler                     0.90               1-3
                          LMC Catch -up call with W&C: S. Kohler, A. Ciccone, A. Kroll, M.
12/7/2023       AC        Port, E, Hammes, M. Leonard                                                   0.60               4-2
                          Call with Lee Plummer to reconcile Pierburg claim; M. Leonard, S.
12/7/2023       AC        Kohler                                                                        0.50               4-2
12/7/2023       AC        Pierburg follow-up analysis                                                   1.50               4-2
12/7/2023       AC        Call with M. Mollerus to discuss data transition                              0.20               4-2
12/7/2023       AC        Call with C. Tsitsis and S. Kohler to discuss Harco Analysis                  0.40               4-2
                          Call with M3 to discuss Claims and prepaid questions; E. Hammes, S.
12/7/2023       AC        Kohler                                                                        0.80               4-2
12/7/2023       AC        Call with Dino to discuss various action items and priorities                 0.40               4-2
                          Claim evidence documentation for Luxit, Marelli, Brose, and
12/7/2023       AC        Adronics                                                                      0.50               4-2
12/7/2023       AC        Prep analysis for supplier claims call                                        0.50               4-2
12/7/2023       AC        Ad hoc communication and correspondence                                       1.00               4-2
12/7/2023       AC        Miscellaneous admin tasks                                                     0.80               4-2
12/7/2023       AC        Sending emails to Brite Energy                                                0.20               4-2
 THUR                                              DAILY TOTALS                                        8.80         0.00

12/8/2023       AC        Call with Dino to discuss various open items                                  0.40               4-2
12/8/2023       AC        Working through paylocity analysis                                            1.00               1-2
   FRI                                             DAILY TOTALS                                        1.40         0.00

                                        WEEKLY TOTAL - ( W/E 12/9/23 )                               37.50         0.50

12/11/2023      AC        Prep for Monday supply call                                                   0.40               4-2
                          Supplier Claim call; E. Hightower, A. Kroll, C. Tsitsis, S. Kohler, E.
12/11/2023      AC        Hammes, A. Ciccone                                                            0.30               4-2
12/11/2023      AC        Ad hoc emails and communication                                               0.40               4-2
                          W&C catch-up call; A. Kroll, M. Port, S. Kohler, A. Ciccone, E.
12/11/2023      AC        Hammes                                                                        0.90               4-2
12/11/2023      AC        Weekly finance call; S. Kohler, E. Hammes, A. Kroll, R. Aerabati              0.80               2-1
12/11/2023      AC        Marelli Claims analysis                                                       1.30               4-2
12/11/2023      AC        Adronics claim analysis                                                       2.90               4-2
12/11/2023      AC        Call with Ellen to discuss M3 claims                                          0.60               4-2
12/11/2023      AC        Huron Contract Request analysis                                               1.20               4-2
12/11/2023      AC        Luxit Claim analysis                                                          1.00               4-2
12/11/2023      AC        Reviewing carcoustics position statement                                      0.10               4-2
12/11/2023      AC        Brose Claim analysis                                                          0.10               4-2



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  Date       Consultant                              Description                                 Billable    No Charge

12/11/2023      AC        General admin tasks                                                         0.30               4-2
  MON                                             DAILY TOTALS                                      10.30         0.00


12/12/2023      AC        Call with Huron to discuss rejection damages (A. Kroll; C. Tsitsis)         0.40               1-2
                          Investigation and documentation of claims for preparation of handing
12/12/2023      AC        items over to the ombudsman                                                 5.50               4-2
12/12/2023      AC        Gathering information for Huron data requests                               0.50               4-2
12/12/2023      AC        Call with Kevin Moser to discuss 3D claim                                   0.10               4-2
12/12/2023      AC        Preparing for Harco and Tesca meetings on Wednesday                         1.00               4-2
12/12/2023      AC        Call with C. Tsitsis to discuss the status of various action items          0.10               4-2
12/12/2023      AC        Adhoc and miscellaneous emails and communications                           0.80               4-2
 TUES                                             DAILY TOTALS                                       8.40         0.00

12/13/2023      AC        Meeting with M. Port, S. Kohler, K. Moser                                   0.50               4-2
12/13/2023      AC        Meeting with Silverman team to discuss open action items                    0.80               4-2
                          Meeting with C. Tsitsis, S. Kohler, and Harco to discuss questions
12/13/2023      AC        related to their claim                                                      0.30               4-2
                          Meeting With Tesca to discuss their claim: M. Leonard, S. Kohler, A.
12/13/2023      AC        Ciccone, J. Johnson                                                         0.40               4-2
12/13/2023      AC        Harco meeting follow-up items and documentation                             1.00               4-2
                          Wednesday finance meeting; S. Kohler, M. Port, E. Hammes, A.
12/13/2023      AC        Kroll                                                                       1.00               2-1
                          Claims documentation and investigation for Marelli, TMT, Schwab,
12/13/2023      AC        North Coast, BASF, Tesca, 3D                                                3.40               4-2
12/13/2023      AC        Ad hoc communications and email requests                                    1.20               4-2

12/13/2023      AC        Updating and sending the assumption schedule to White and Case              0.50               1-3
  WED                                             DAILY TOTALS                                       9.10         0.00

12/14/2023      AC        Meeting prep for Claims call                                                0.50               4-2
                          Claims Meeting (A. Kroll, S. Kohler, M. Port, E. Hammes, A.
12/14/2023      AC        Ciccone)                                                                    0.60               4-2
                          Documentation of claims and analysis for preparation for the
12/14/2023      AC        ombudsman                                                                   4.90               4-2
                          LMC call with White and case; A. Kroll, M. Leonard, S. Kohler, E.
12/14/2023      AC        Hammes, M. Port                                                             0.70               4-2
12/14/2023      AC        Building the contract rejection schedule for the second motion              2.10               1-2
12/14/2023      AC        Interest rate calculations                                                  0.50               1-1
                          Ad hoc communication and miscellaneous tasks stemming from
12/14/2023      AC        emails                                                                      1.20               4-2
 THUR                                             DAILY TOTALS                                      10.50         0.00


12/15/2023      AC        Saving Documentation and Analysis to hand over to the ombudsman             2.50               4-2
12/15/2023      AC        Sending AP dispute Email to vendors                                         0.50               4-2
12/15/2023      AC        Proofing Laval and Ventra Demand Letters                                    1.00               4-2
12/15/2023      AC        Drafting a response to requests on prepaids for Etrade                      0.30               4-2


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  Date       Consultant                              Description                                  Billable    No Charge

12/15/2023      AC        Saving UPS Demand Letters                                                    0.30               4-2
12/15/2023      AC        Ad hoc communication and correspondence                                      0.50               4-2
   FRI                                            DAILY TOTALS                                        5.10         0.00

                                       WEEKLY TOTAL - ( W/E 12/16/23 )                              43.40         0.00

                          Supplier Claims Call; A. Kroll, E. Hammes, A. Ciccone, J. Johnson,
12/18/2023      AC        C. Tsitsis, S. Kohler, M. Port                                               0.50               4-2
12/18/2023      AC        Prep for supplier claims call including call w/ D. Tsitsis                   0.30               4-2
12/18/2023      AC        White and Case Catch-up call                                                 0.80               4-2
                          Finance meeting; A. Kroll, S. Kohler, C. Tsitsis, E. Hammes, M. Port,
12/18/2023      AC        R. Aerbati                                                                   0.80               2-1
12/18/2023      AC        Updating Contract Rejection Motion                                           0.50               1-2
                          Documenting and Saving Claims analysis to hand off to the
12/18/2023      AC        ombudsman                                                                    4.00               4-2
12/18/2023      AC        Ad hoc Communication and emails                                              1.30               4-2
  MON                                             DAILY TOTALS                                        8.20         0.00

12/19/2023      AC        Prepaid Analysis                                                             0.90               4-2
12/19/2023      AC        Emailing Harco to set up meeting times                                       0.30               4-2
                          Gathering documentation to answer Michal Port's request on several
12/19/2023      AC        invoices                                                                     1.50               4-2
12/19/2023      AC        Documenting claims for ombudsman                                             4.10               4-2
12/19/2023      AC        Prepaid call with M. Mollerus and S/ Kohler                                  0.40               4-2
12/19/2023      AC        Other ad hoc requests and communications                                     0.30               4-2
 TUES                                             DAILY TOTALS                                        7.50         0.00

12/20/2023      AC        Call with C. Tsitsis to discuss Huron Claims requests                        0.10               4-2
12/20/2023      AC        Gathering documentation to answer Huron's questions                          1.10               4-2
12/20/2023      AC        3D claim analysis                                                            0.80               4-2
12/20/2023      AC        Documenting claim for ombudsman                                              2.10               4-2
12/20/2023      AC        Meeting with S. Kohler to discuss various claims items                       0.90               4-2
                          Wednesday finance meeting with A. Kroll, M. Port, S. Kohler, E.
12/20/2023      AC        Hammes                                                                       1.20               2-1
12/20/2023      AC        Reviewing Contract rejection analysis                                        1.00               1-2
12/20/2023      AC        Ad hoc requests and communications                                           0.90               4-2
  WED                                             DAILY TOTALS                                        8.10         0.00

                          Supplier Claims call - a. Kroll, S. Kohler, E. Hammes, A. Ciccone, M.
12/21/2023      AC        Port                                                                         0.70               4-2
12/21/2023      AC        Artiflex analysis                                                            1.00               4-2
12/21/2023      AC        W&C catch-up call - A. Kroll, E. Hammes, S. Kohler, M. Port                  1.10               4-2
12/21/2023      AC        Waterfall updates                                                            0.20               1-3
12/21/2023      AC        Internal catch-up call - E. Hammes, C. Tsitsis, S. Kohler                    0.50               4-2
12/21/2023      AC        Documentation for Ombudsman                                                  4.10               4-2
12/21/2023      AC        Ad hoc communication and requests                                            0.60               4-2
 THUR                                             DAILY TOTALS                                        8.20         0.00


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  Date       Consultant                               Description                                 Billable    No Charge


12/22/2023      AC        Addressing Ad hoc requests                                                   0.30               4-2
12/22/2023      AC        New Eagle prepaid analysis                                                   1.00               4-2
12/22/2023      AC        Drafting documentation or the ombudsman                                      3.00               4-2
   FRI                                            DAILY TOTALS                                        4.30         0.00

                                       WEEKLY TOTAL - ( W/E 12/23/23 )                              36.30         0.00

12/26/2023      AC        Drafting memo for Ombudsman                                                  4.00               4-2
12/26/2023      AC        Call with C. Tsitsis to discuss documentation                                0.30               4-2
12/26/2023      AC        Catching up on emails                                                        1.00               4-2
12/26/2023      AC        Submitting time and expense and other Admin tasks                            0.80               4-2
12/26/2023      AC        Draft New Eagle Documentation for Scott                                      0.50               4-2
 TUES                                             DAILY TOTALS                                        6.60         0.00

12/27/2023      AC        Drafting Memo for Ombudsman                                                  3.50               4-2
                          Finance Meeting - A. Kroll, S. Kohler, R. Aerbati, M/. Port, E.
12/27/2023      AC        Hammes                                                                       1.00               2-1
12/27/2023      AC        Drafting Master reconcile                                                    1.50               4-2
12/27/2023      AC        Updating Claim recon file                                                    1.30               4-2
12/27/2023      AC        Adhoc communications and admin                                               0.30               4-2
  WED                                             DAILY TOTALS                                        7.60         0.00


12/28/2023      AC        Supplier Claims Call - A. Kroll, E. Hightower, S. Kohler, M. Leonard         0.70               4-2
12/28/2023      AC        Updating Claims tracker for ombudsman                                        1.60               4-2

12/28/2023      AC        White and Case Call - S. Kohler, E. Hammes, A. Kroll, M. Leonard             0.60               4-2
12/28/2023      AC        Call with Scott to discuss prepaids                                          0.40               4-2
12/28/2023      AC        Proofing Ombudsman memo                                                      0.80               4-2
12/28/2023      AC        Updating MF and claims reconciliation                                        1.80               4-2
12/28/2023      AC        Security Deposit analysis                                                    0.80               4-2
12/28/2023      AC        Call with C. Tsitsis and E. Hammes to discuss claims reserve                 0.50               4-2
12/28/2023      AC        Ad hoc emails and communications                                             0.90               4-2
 THUR                                             DAILY TOTALS                                        8.10         0.00

12/29/2023      AC        Claims Documentation and drafting memo for ombudsman                         3.50               4-2
12/29/2023      AC        Ad hoc communication                                                         0.50               4-2
   FRI                                            DAILY TOTALS                                        4.00         0.00

                                       WEEKLY TOTAL - ( W/E 12/31/23 )                              26.30         0.00


                                    TOTAL - (December 1 to December 31, 2023 )                     148.70         0.50




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  Date      Consultant                              Description                                 Billable    No Charge


12/1/2023      CDT       Multiple meetings w A. Crnkovich re claims/waterfall                        0.60               4-2
                         Call w M. Port re CEVA. Reach out to CEVA attorney again to get
12/1/2023      CDT       copies of invoices                                                          0.40               4-2
  FRI                                           DAILY TOTALS                                        1.00         0.00

                         Call w UCC re claims and waterfall including A. Kroll and A.
12/2/2023      CDT       Crnkovich                                                                   0.50               4-2
  SAT                                           DAILY TOTALS                                        0.50         0.00

                                      WEEKLY TOTAL - ( W/E 12/2/23 )                                1.50        0.00

                         Call w/ Silverman team re: list of to-do's and next steps to
12/4/2023      CDT       transition to ombudsman                                                     0.50               4-2
                         Prepare prepaids list for M3 request and send to A. Crnkovich to
12/4/2023      CDT       provide with remaining data request.                                        0.40               4-2
 MON                                            DAILY TOTALS                                        0.90         0.00

                         Call w/ A. Kroll to gather termination info on 5 contracts; review
                         contracts and create a list of facts/info required for determination
12/5/2023      CDT       of assumption or rejection.                                                 1.40               1-2
12/5/2023      CDT       Call w/ Silverman team re: cure amounts                                     0.40               1-2
12/5/2023      CDT       Read and reply to various emails.                                           0.60               4-2
                         Call w A. Crnkovich re contracts; follow up call with R. Loh re the
12/5/2023      CDT       same                                                                        0.60               4-2
  TUE                                           DAILY TOTALS                                        3.00         0.00

                         Call w/ R. Winning to discuss assumed contracts; follow up call
12/6/2023      CDT       w/ Silverman team re: same.                                                 0.60               1-2
12/6/2023      CDT       Read and reply to multiple emails (47)                                      1.30               4-2
                         Review termination clauses with E. Hammes and provide feedback
12/6/2023      CDT       to send to M3                                                               0.30               1-2
                         Call w/ A. Kroll re: assumption list, Silverman agreement for
12/6/2023      CDT       ombudsman, next steps in claims process.                                    0.50               4-2
 WED                                            DAILY TOTALS                                        2.70         0.00

                         Call w/ A. Crnkovich and S. Kohler re: Harco claim analysis and
12/7/2023      CDT       response.                                                                   0.40               4-2
12/7/2023      CDT       Call w A. Crnkovich re priorities                                           0.40               4-2
THURS                                           DAILY TOTALS                                        0.80         0.00


12/8/2023      CDT       Call w/ A. Kroll re: waterfall and potential deposition by UCC              0.30               4-2
                         Call w/ A. Crnkovich re: potential deposition by UCC and
12/8/2023      CDT       Paylocity rejection damage                                                  0.30               4-2
                         Read and reply to various emails. Finalize agreement with Elaphe
                         and inform them via email to send back final agreement for
12/8/2023      CDT       execution and completion by 19 Dec.                                         0.70               4-2



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12/8/2023       CDT       Call w A. Kroll re claims, rejection for paylocity                        0.40               4-2
   FRI                                            DAILY TOTALS                                     1.70         0.00

                                       WEEKLY TOTAL - ( W/E 12/9/23 )                              9.10        0.00

12/11/2023      CDT       Supplier claims call; follow up call w/ S. Kohler re: same.               0.30               4-2
                          Review Elaphe redline of agreement; forward to A. Kroll and M.
12/11/2023      CDT       Port                                                                      0.40               4-2
  MON                                             DAILY TOTALS                                     0.70         0.00

12/12/2023      CDT       Multiple calls w/ A. Crnkovich re: claims reconciliations                 0.80               4-2
12/12/2023      CDT       Call w/ Huron re: rejection request                                       0.40               4-2
                          Call w/ M. Mollerus re: Elaphe amounts to verify; reply to Elaphe
                          re: agreement. Send agreement to M. Leonard for review and
12/12/2023      CDT       approval.                                                                 0.60               4-2
 TUES                                             DAILY TOTALS                                     1.80         0.00

                          Call w/ Harco attorney, A. Crnkovich and S. Kohler re: claim
12/13/2023      CDT       reconciliation                                                            0.30               4-2
12/13/2023      CDT       Follow up call w/ A. Crnkovich re: Harco                                  0.20               4-2
  WED                                             DAILY TOTALS                                     0.50         0.00

                          Read and reply to various emails. Call w/ UST Joseph Kern re:
12/14/2023      CDT       UST fees as a result of an email exchange.                                0.50               4-2
                          Read and reply to multiple emails re: claims reconciliations;
                          communications with CEVA attorney and M. Port re: CEVA
12/14/2023      CDT       claim.                                                                    1.10               4-2

12/14/2023      CDT       Text and email exchanges re: Teris claim and assumed contracts            0.40               4-2
 THUR                                             DAILY TOTALS                                     2.00         0.00

                                      WEEKLY TOTAL - ( W/E 12/16/23 )                              5.00        0.00

12/18/2023      CDT       Supplier claims call                                                      0.50               4-2
12/18/2023      CDT       Calls w/ A. Crnkovich re: claims and rejection damages                    0.30               4-2
  MON                                             DAILY TOTALS                                     0.80         0.00

12/20/2023      CDT       Fee application preparation                                               0.50               4-5
  WED                                             DAILY TOTALS                                     0.50         0.00

                          Review and finalize 5th monthly fee app (Nov) and send to W&C
12/21/2023      CDT       for filing.                                                               1.00               4-5
                          Call w/ Silverman team re: to-dos for plan confirmation; follow up
12/21/2023      CDT       call w/ F. He re: same.                                                   0.50               4-2
 THUR                                             DAILY TOTALS                                     1.50         0.00

                                      WEEKLY TOTAL - ( W/E 12/23/23 )                              2.80        0.00


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12/26/2023      CDT       Call w/ A. Crnkovich re: memo to ombudsman                             0.30               4-2
 TUES                                           DAILY TOTALS                                    0.30         0.00

                          Call w/ E. Hammes and A. Crnkovich to review waterfall analysis
12/28/2023      CDT       vs UCC numbers; reply to RJ email.                                     0.50               4-2
 THUR                                           DAILY TOTALS                                    0.50         0.00

                                     WEEKLY TOTAL - ( W/E 12/31/23 )                            0.80        0.00


                                  TOTAL - (December 1 to December 31, 2023 )                   19.20        0.00




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  Date      Consultant                            Description                        Billable    No Charge


12/5/2023      MM        Call with Dino to discuss bankruptcy matters                     0.50               4-2
 TUES                                          DAILY TOTALS                              0.50         0.00

12/6/2023      MM        Admin for Lordstown T&E                                          1.50               4-2
 WED                                           DAILY TOTALS                              1.50         0.00

                                     WEEKLY TOTAL - ( W/E 12/9/23 )                      2.00        0.00

                                 TOTAL - (December 1 to December 31, 2023 )              2.00        0.00




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  Date      Consultant                            Description                               Billable    No Charge



12/1/2023      SK        Worked on Lordstown prepaids and specifically AMP for $800K             1.60               4-2
                         Emails and attachments from the company, attorneys, and
12/1/2023      SK        Silverman relating to the case                                          0.50               4-2
12/1/2023      SK        Administration relating to the case                                     0.30               4-2
12/1/2023      SK        Worked on claims analysis and reconciliation with prepaids              1.80               4-2
  FRI                                          DAILY TOTALS                                     4.20         0.00

                                     WEEKLY TOTAL - ( W/E 12/2/23 )                             4.20        0.00

                         Claims call with Melissa L., Adam K., Amanda, Edward H. and
12/4/2023      SK        Silverman                                                               0.50               4-2

12/4/2023      SK        W&C catch up call with the company, attorneys, and Management           0.70               4-2
                         Finance call with Company Management (Adam K. and Michael
12/4/2023      SK        P.) and Silverman staff                                                 1.20               2-1
12/4/2023      SK        Worked on Contract rejections                                           1.00               1-2
                         Worked on prepaids made by the company to vendors prior to
12/4/2023      SK        the filing                                                              2.20               4-2
12/4/2023      SK        Worked on open vendor claims analysis                                   1.50               4-2
                         Caught up on emails and attachments from company management,
12/4/2023      SK        the attorneys, and Silverman relating to the case                       0.50               4-2
12/4/2023      SK        Administrative activities relating to the case                          0.40               4-2
 MON                                           DAILY TOTALS                                     8.00         0.00


12/5/2023      SK        Worked on the prepaids that the company made prior to the filing        1.00               4-2
12/5/2023      SK        Worked on open vendor claims analysis                                   1.30               4-2
                         Read emails and attachments from the attorneys, suppliers,
12/5/2023      SK        management, and Silverman related to the case                           0.60               4-2
                         Open Text and AMP discussion with the management of
12/5/2023      SK        Lordstown                                                               0.60               4-2
12/5/2023      SK        worked on assumed contracts for the post effective date entity          2.30               1-2
 TUES                                          DAILY TOTALS                                     5.80         0.00

12/6/2023      SK        Worked on assumed contracts for the post effective date entity          1.00               1-2
12/6/2023      SK        Worked on the Auto motive Power claim and notice                        0.70               4-2
                         Caught up on emails and attachments from the company,
12/6/2023      SK        stakeholders, the attorneys, and Silverman related to the case          0.50               4-2
12/6/2023      SK        Administrative activities related to managing the estate                0.40               4-2
                         Finance call with Company management (Adam K. , Raghu, and
12/6/2023      SK        Michael P.) and Silverman                                               1.20               2-1
12/6/2023      SK        Worked on assumed contracts for the post effective date entity          1.10               1-2
 WED                                           DAILY TOTALS                                     4.90         0.00

                         Claims call with Silverman staff and company management (Ada,
12/7/2023      SK        Michael P., Melissa, Amanda. Jevita, and Edward H.)                     0.60               4-2


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12/7/2023       SK        Waterfall call with Silverman team and Adam K.                             0.50               4-2
                          W&C catch up call (attorneys, management, and Silverman ) to
12/7/2023       SK        discuss issues, work products, and earing coming up                        0.60               4-2
                          Worked on prepaids that were made by the company prior to the
12/7/2023       SK        filing                                                                     1.90               4-2
                          Pierberg call to discuss claim (Pierberg, Silverman staff, and
12/7/2023       SK        Melissa of the company)                                                    0.50               4-2
                          Silverman staff to discuss the claims analysis and positioning with
12/7/2023       SK        the claimant                                                               0.50               4-2
12/7/2023       SK        Caught up emails and attachments relating to the case                      0.50               4-2
12/7/2023       SK        Administrative activities relating to the case                             0.90               4-2
THURS                                            DAILY TOTALS                                       6.00         0.00


12/8/2023       SK        Worked on prepaid letters to suppliers with no offsetting claims           3.50               4-2
                          Reviewed emails and attachments from the company, attorneys,
12/8/2023       SK        and Silverman relating to the case                                         0.40               4-2
12/8/2023       SK        Administration relating to the case                                        0.20               4-2
   FRI                                           DAILY TOTALS                                       4.10         0.00

                                       WEEKLY TOTAL - ( W/E 12/9/23 )                             28.80         0.00

                          Supplier claims call Silverman and management (Adam K., Edward
12/11/2023      SK        H., Melissa L., Amanda, Jevita)                                            0.30               4-2
                          Catch up call with W&C company attorneys, management (Adam
12/11/2023      SK        K., Michael P.) and Silverman                                              0.90               4-2
                          Finance team call to discuss open items Management (Adam K.,
12/11/2023      SK        Michael P., Raghu) and Silverman                                           0.80               2-1
12/11/2023      SK        Administrative activities related to management of the case                0.70               4-2
                          Read emails and attachment s from the attorneys, management,
12/11/2023      SK        and Silverman relating to the case                                         0.60               4-2
12/11/2023      SK        Worked on prepaids and drafting letters                                    2.00               4-2
                          Read emails and attachments from the company, attorneys, and
12/11/2023      SK        Silverman. Responded as necessary                                          0.30               4-2
12/11/2023      SK        Worked on claims analysis for vendors, parties in interest                 2.10               4-2
  MON                                            DAILY TOTALS                                       7.70         0.00

                          Worked on prepayments made by the company prior to the case
12/12/2023      SK        being filed                                                                1.80               4-2
                          worked on the claims analysis associated with vendors and
12/12/2023      SK        stakeholders                                                               1.20               4-2
12/12/2023      SK        Administrative activities associated with case management                  0.40               4-2
                          Read emails and attachments relating to the case from the
                          attorneys, company management, and Silverman relating to the
12/12/2023      SK        case.                                                                      0.40               4-2
12/12/2023      SK        Worked on vendor and stakeholder claims analysis                           1.10               4-2

12/12/2023      SK        Reviewed, read emails from vendors, attorneys, and the company.            0.50               4-2



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                          worked on responses and notices relating to the prepayments
12/12/2023      SK        made by the company prior to the filing of the case                         0.70               4-2
 TUES                                            DAILY TOTALS                                        6.10         0.00

                          Conference call with Michael Port and Kevin of the company to
12/13/2023      SK        discuss the 3D claim                                                        0.60               4-2
                          Worked on prepaids drafting making sure that letters got out to
12/13/2023      SK        request repayment.                                                          0.70               4-2
12/13/2023      SK        Harco discussion with Silverman, management and the vendor                  0.30               4-2
                          Lordstown Tesca discussion with the company (Melissa L.)
12/13/2023      SK        Silverman and the vendor                                                    0.50               4-2
                          Finance meeting with the company (Adam K., Michael Port, and
12/13/2023      SK        Raghu0 including Silverman staff on the engagement                          1.00               2-1
                          Call with the attorneys (RJ at White and Case) to discuss Teris cure
12/13/2023      SK        amount and response of the company                                          0.30               4-2
                          Worked on Prepaid going to vendors requesting refunds of the
12/13/2023      SK        dollars paid                                                                1.10               4-2

                          Reviewed and read emails and attachments from the company,
12/13/2023      SK        attorneys, vendors, and Silverman relating to the case                      0.70               4-2
12/13/2023      SK        Administrative activities relating to the case                              0.30               4-2
  WED                                            DAILY TOTALS                                        5.50         0.00

                          Claims call with Silverman and the company (Adam K., Michael P.,
12/14/2023      SK        Melissa L., Amanda)                                                         0.60               4-2
12/14/2023      SK        Catch up call with White & Case, the Company, and Silverman                 0.70               4-2
                          Worked on rejection motion support for contracts being rejected
12/14/2023      SK        at 12/31                                                                    1.00               1-2
                          Worked on prepayments made by the company prior to filing the
12/14/2023      SK        case                                                                        0.90               4-2
                          Read emails and attachments from the company, vendors,
12/14/2023      SK        attorneys, and Silverman relating to the case                               0.50               4-2
12/14/2023      SK        Administrative activities relating to the case                              0.60               4-2
                          Follow up on rejection motion schedule being provided by
12/14/2023      SK        Silverman to White and Case                                                 0.50               1-2
 THUR                                            DAILY TOTALS                                        4.80         0.00

                          Worked on client claims, specifically reviewed Laval and Flex N
                          Gate and drafted a letter relating to their claim and non
12/15/2023      SK        responsiveness                                                              1.30               4-2
                          Followed up on the letters that went out on prepayments made
12/15/2023      SK        prior to the filing                                                         0.70               4-2
                          Read emails and attachments from the company, attorneys, and
12/15/2023      SK        Silverman relating to the case                                              0.40               4-2
12/15/2023      SK        Administrative activities relating to case management.                      0.30               4-2
12/15/2023      SK        Worked on letters to Laval and Flex N Gate.                                 0.30               4-2
   FRI                                           DAILY TOTALS                                        3.00         0.00




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                                      WEEKLY TOTAL - ( W/E 12/16/23 )                                27.10        0.00

                          Claims call management (Adam K, Michael Port, Melissa L,
12/18/2023      SK        Amanda) and Silverman                                                        0.50               4-2
12/18/2023      SK        W&C catch up call with Management, Silverman, and Fan                        1.00               4-2
                          Finance call Management (Adam K, Michael P., and Raghu) and
12/18/2023      SK        Silverman                                                                    0.80               2-1
12/18/2023      SK        Worked on prepayments made by the estate prior to filing                     1.50               4-2
12/18/2023      SK        Worked on Prepaids and counter claims made after the filing                  3.30               4-2
                          Read emails and attachments from attorneys, company personnel,
12/18/2023      SK        and Silverman related to the case                                            0.50               4-2
12/18/2023      SK        Administrative activities relating it the case                               0.40               4-2
  MON                                            DAILY TOTALS                                         8.00         0.00

                          Worked on prepaids and counter claims Artiflex and Aikar in
12/19/2023      SK        particular                                                                   2.70               4-2
12/19/2023      SK        Call w/ A. Crnkovich and M. Mollerus re: Prepaids                            0.40               4-2
                          Read emails and attachments from the company, vendors,
12/19/2023      SK        attorneys, and Silverman relating to the case                                0.60               4-2
12/19/2023      SK        administrative activities relating to the case                               0.20               4-2
  TUE                                            DAILY TOTALS                                         3.90         0.00

                          Worked on documentation for ombudsman for the claims w/ A.
12/20/2023      SK        Crnkovich                                                                    0.90               4-2
12/20/2023      SK        Worked on claims and prepaids relating to the reconciliation                 1.70               4-2
                          Worked on claims relating to the case and relationships with
12/20/2023      SK        prepaids                                                                     1.60               4-2
12/20/2023      SK        Finance call with management (Adam K and M, Port)                            1.20               2-1
                          Read emails and attachments from management, attorneys, and
12/20/2023      SK        Silverman relating to the case                                               0.40               4-2
12/20/2023      SK        Administration relating to the case                                          0.60               4-2
  WED                                            DAILY TOTALS                                         6.40         0.00

                          Claims call with company management (Adam, Melissa, Jevita) , M.
12/21/2023      SK        Port) and Silverman                                                          0.70               4-2
                          Catch up call with W&C (Fan), management (Adam, M. Port,
12/21/2023      SK        Melissa), and Silverman                                                      1.10               4-2
                          Read emails and attachments from the company, attorneys,
12/21/2023      SK        stakeholders, and Silverman relating to the case                             0.70               4-2
                          Administrative activities relating to the case, including fee
12/21/2023      SK        application                                                                  1.20               4-5
                          Post petition planning, i.e. activities needing to be accomplished to
12/21/2023      SK        be accomplished between confirmation and effective date                      2.60               4-2
12/21/2023      SK        Call w/ Silverman team re: to-do's for plan confirmation                     0.50               4-2
 THUR                                            DAILY TOTALS                                         6.80         0.00


12/22/2023      SK        Worked on documentation for the post confirmation ombudsman.                 1.40               4-2


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12/22/2023      SK        Worked on claims analysis by vendor/stakeholder.                       0.90               4-2
   FRI                                          DAILY TOTALS                                    2.30         0.00

                                     WEEKLY TOTAL - ( W/E 12/23/23 )                          27.40         0.00

                          Finance call with management (Adam K, Michael P.) and
12/27/2023      SK        Silverman                                                              1.00               2-1
                          Worked on prepaids and information being transferred to the
12/27/2023      SK        ombudsman.                                                             0.80               4-2
                          Read emails from the company, attorneys, and Silverman relating
12/27/2023      SK        to the case.                                                           0.20               4-2
12/27/2023      SK        Administration relating to the case.                                   0.10               4-2
  WED                                           DAILY TOTALS                                    2.10         0.00

                          Worked on prepaids made by the estate prior to the case being
12/28/2023      SK        filed                                                                  1.00               4-2
12/28/2023      SK        Call with A. Crnkovich to discuss prepaids                             0.40               4-2
12/28/2023      SK        Worked on vendor claims                                                0.80               4-2
                          Claims call with the company management (Ed H., Adam K.,
12/28/2023      SK        Melissa, Amanda, and Michael P.) and Silverman                         0.70               4-2
12/28/2023      SK        Catch up call with Fan of W&C, Management, and Silverman               0.60               4-2
                          Read emails and attachments from the Company, attorneys, and
12/28/2023      SK        Silverman relating to the case                                         0.60               4-2
12/28/2023      SK        Administrative activities relating to the case management              0.50               4-2
THURS                                           DAILY TOTALS                                    4.60         0.00


12/29/2023      SK        Worked on prepaids made by Lordstown prior to filing and claims        1.40               4-2
12/29/2023      SK        Followed up emails regarding open issues in the case                   0.70               4-2
12/29/2023      SK        Read emails and reviewed attachments relating to the case              0.60               4-2
12/29/2023      SK        Administrative activities relating to the case                         0.40               4-2
                          Phone call with Kristine Sinauskas of Industrial Experimental
                          Technologies regarding an outstanding prepaid balance of
12/29/2023      SK        $1,552.80                                                              0.30               4-2
   FRI                                          DAILY TOTALS                                    3.40         0.00

                                     WEEKLY TOTAL - ( W/E 12/31/23 )                           10.10        0.00

                                  TOTAL - (December 1 to December 31, 2023 )                  97.60         0.00




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  Date      Consultant                             Description                                Billable    No Charge


12/1/2023      EH        Prepaids rec                                                              0.50               4-2
12/1/2023      EH        claims reconciliation and updating waterfall                              2.20               4-2
12/1/2023      EH        Cash forecast update                                                      0.50               1-1
  FRI                                           DAILY TOTALS                                      3.20         0.00

                                      WEEKLY TOTAL - ( W/E 12/2/23 )                              3.20        0.00

12/4/2023      EH        Supplier claims call                                                      0.60               4-2
12/4/2023      EH        W&C update call                                                           0.70               4-2
12/4/2023      EH        Weekly Finance Meeting                                                    1.00               2-1
12/4/2023      EH        Internal catch up and alignment call w/ Silverman team                    0.50               4-2
12/4/2023      EH        Cash forecast update                                                      4.90               1-1
12/4/2023      EH        responding to various emails related to Lordstown bankruptcy              0.50               4-2
12/4/2023      EH        Administrative activities relating to the bankruptcy                      0.50               4-2
 MON                                            DAILY TOTALS                                      8.70         0.00

12/5/2023      EH        Fee App time & expense                                                    0.60               4-5
                         Cash forecast and waterfall - gathering information re claims for
12/5/2023      EH        the equity committee                                                      1.20               1-1
12/5/2023      EH        Update cash forecast/waterfall for the week                               3.20               1-1
12/5/2023      EH        Gather information and update cures analysis                              0.50               4-2
12/5/2023      EH        Updated the assumed contracts schedule for filings                        0.50               1-2
12/5/2023      EH        responding to various emails related to Lordstown bankruptcy              0.50               4-2
12/5/2023      EH        Administrative activities relating to the bankruptcy                      0.50               4-2

12/5/2023      EH        Call w/ A. Crnkovich, S. Kohler and C Tsitsis re: cures schedule          0.40               4-2
12/5/2023      EH        Call with A Crnkovich re: waterfall updates                               0.80               1-1
  TUE                                           DAILY TOTALS                                      8.20         0.00

12/6/2023      EH        Call w/ Port to discuss EE severance                                      0.30               4-2
                         Contract Assumption Schedule - gather termination clauses from
12/6/2023      EH        contracts                                                                 1.80               1-2
12/6/2023      EH        Weekly Finance Meeting                                                    1.20               2-1
12/6/2023      EH        Fee App                                                                   1.40               4-5
12/6/2023      EH        Assumed contracts and termination penalties                               0.80               1-2
12/6/2023      EH        responding to various emails related to Lordstown bankruptcy              0.50               4-2
12/6/2023      EH        Administrative activities relating to the bankruptcy                      0.50               4-2
12/6/2023      EH        Call w/ A Crnkovich re: prepaids analysis                                 0.50               4-2
                         Call w/ D. Tsitsis to review termination clauses and respond to
12/6/2023      EH        M3 requests                                                               0.30               4-2
 WED                                            DAILY TOTALS                                      7.30         0.00

12/7/2023      EH        Supplier claims call w/ Lordstown and Silverman                           0.60               4-2
                         Call with A. Kroll and Silverman to discuss and update liquidation
12/7/2023      EH        analysis; includes time for making updates post call                      1.10               4-2
12/7/2023      EH        W&C update call                                                           0.60               4-2




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  Date       Consultant                             Description                                 Billable    No Charge


12/7/2023       EH        Call with M3 to discuss waterfall questions re: claims and prepaids        0.40               1-1

12/7/2023       EH        Call with M3, A Crnkovich, S Kohler to discuss individual claims           0.80               4-2
12/7/2023       EH        responding to various emails related to Lordstown bankruptcy               0.50               4-2
12/7/2023       EH        Administrative activities relating to the bankruptcy                       0.50               4-2
THURS                                            DAILY TOTALS                                       4.50         0.00

12/8/2023       EH        responding to various emails related to Lordstown bankruptcy               0.70               4-2
12/8/2023       EH        Administrative activities relating to the bankruptcy                       0.50               4-2
                          Update liquidation analysis and waterfall for claims reserve
12/8/2023       EH        discussion                                                                 1.70               1-1
12/8/2023       EH        Prepaid analysis                                                           0.30               4-2
                          Fee app and ordinary professionals tracker - update based on
12/8/2023       EH        CNOs, fee applications                                                     1.20               4-5
12/8/2023       EH        update professional fees based on legal accrual                            0.40               4-2
   FRI                                           DAILY TOTALS                                       4.80         0.00

                                       WEEKLY TOTAL - ( W/E 12/9/23 )                             33.50         0.00

12/11/2023      EH        Supplier Claims Call                                                       0.30               4-2
12/11/2023      EH        W&C update call                                                            0.90               4-2
12/11/2023      EH        Legal accrual call w/ M. Port, A. Ciccone and K. Moser                     0.40               4-2
12/11/2023      EH        Weekly finance meeting                                                     0.80               2-1
12/11/2023      EH        Reconcile professional fees and holdback for waterfall analysis            2.10               1-1
12/11/2023      EH        Cash forecast update                                                       1.40               1-1
                          reviewed assumed contracts and put together schedule of
12/11/2023      EH        consolidated contracts to be assumed, rejected, etc.                       2.10               1-2
12/11/2023      EH        responding to various emails related to Lordstown bankruptcy               0.70               4-2
12/11/2023      EH        Administrative activities relating to the bankruptcy                       0.50               4-2
12/11/2023      EH        Call with A. Crnkovich to discuss M3 claims questions                      0.60               4-2
  MON                                            DAILY TOTALS                                       9.80         0.00

12/12/2023      EH        update cash forecast / professional fee accrual                            1.80               1-1
12/12/2023      EH        Cash forecast update                                                       2.90               1-1
12/12/2023      EH        update presentation of the board deck for cash flow                        1.40               1-1
12/12/2023      EH        responding to various emails related to Lordstown bankruptcy               0.50               4-2
12/12/2023      EH        Administrative activities relating to the bankruptcy                       0.50               4-2
 TUES                                            DAILY TOTALS                                       7.10         0.00

12/13/2023      EH        Distribute cash forecast to the committees                                 0.30               4-2
                          Internal meeting with Silverman team to discuss priorities for the
12/13/2023      EH        next few weeks                                                             0.80               4-2
                          Put together list of internal priorities and circulate around to
12/13/2023      EH        Silverman team                                                             0.80               4-2
12/13/2023      EH        November MOR cash receipts and disbursements                               1.80               4-3
12/13/2023      EH        Weekly finance meeting                                                     1.00               2-1



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  Date       Consultant                             Description                                  Billable    No Charge

                          Call with the attorneys (RJ at White and Case) to discuss Teris cure
12/13/2023      EH        amount and response of the company                                          0.30               4-2
12/13/2023      EH        November fee app                                                            1.10               4-5
12/13/2023      EH        responding to various emails related to Lordstown bankruptcy                0.70               4-2
12/13/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
  WED                                            DAILY TOTALS                                        7.30         0.00

12/14/2023      EH        W&C update call                                                             0.70               4-2
12/14/2023      EH        Supplier claims call                                                        0.60               4-2
12/14/2023      EH        Compiling information for contract rejection schedule                       1.10               1-2
12/14/2023      EH        responding to various emails related to Lordstown bankruptcy                0.50               4-2
12/14/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
12/14/2023      EH        Cash forecast update                                                        1.20               1-1
                          Gather information for November MOR; includes call with S
12/14/2023      EH        Nerger re: payroll tax                                                      0.70               4-3
 THUR                                            DAILY TOTALS                                        5.30         0.00

12/15/2023      EH        Consolidated contracts schedule                                             2.00               1-2
12/15/2023      EH        responding to various emails related to Lordstown bankruptcy                0.50               4-2
12/15/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
   FRI                                           DAILY TOTALS                                        3.00         0.00

                                      WEEKLY TOTAL - ( W/E 12/16/23 )                              32.50         0.00

12/18/2023      EH        W&C update call                                                             1.00               4-2
12/18/2023      EH        Weekly finance meeting                                                      0.80               2-1
12/18/2023      EH        Fee App November                                                            4.30               4-5
12/18/2023      EH        responding to various emails related to Lordstown bankruptcy                0.50               4-2
12/18/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
12/18/2023      EH        Supplier claims call                                                        0.50               4-2
12/18/2023      EH        Cash forecast update                                                        0.40               1-1
  MON                                            DAILY TOTALS                                        8.00         0.00

                          update cash forecast for the week ending 12/23 through 1/12,
12/19/2023      EH        extended to confirmation date                                               6.50               1-1
12/19/2023      EH        Consolidated contract schedule to be rejected pursuant to plan              2.00               1-2
12/19/2023      EH        call with M. Port and A Kroll to discuss cash forecast                      0.50               1-1
12/19/2023      EH        November fee application                                                    2.00               4-5
12/19/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
  TUE                                            DAILY TOTALS                                       11.50         0.00

12/20/2023      EH        weekly finance meeting                                                      1.20               2-1
12/20/2023      EH        Cash forecast update                                                        3.90               1-1
12/20/2023      EH        November fee app                                                            1.10               4-5
12/20/2023      EH        responding to various emails related to Lordstown bankruptcy                0.70               4-2
12/20/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2




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  Date       Consultant                              Description                                 Billable    No Charge

                          Gather information to respond to Huron's requests re claims and
12/20/2023      EH        cash forecast/waterfall                                                     0.40               1-1
  WED                                            DAILY TOTALS                                        7.80         0.00

12/21/2023      EH        supplier claims call                                                        0.70               4-2
12/21/2023      EH        W&C update call                                                             1.10               4-2
                          Internal call with Silverman team to discuss post effective date
12/21/2023      EH        checklist                                                                   0.50               4-2
12/21/2023      EH        Update deck for board meeting                                               1.00               4-2
12/21/2023      EH        responding to various emails related to Lordstown bankruptcy                0.50               4-2
12/21/2023      EH        Administrative activities relating to the bankruptcy                        1.20               4-2
12/21/2023      EH        Update waterfall for change in claims and prof fees                         0.60               1-1
12/21/2023      EH        Post petition planning - review W&C doc                                     0.50               4-2
 THUR                                            DAILY TOTALS                                        6.10         0.00

12/22/2023      EH        responding to various emails related to Lordstown bankruptcy                0.50               4-2
12/22/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
                          Professional fees - email legal and finance profs to get updated fee
12/22/2023      EH        estimates through confirmation date                                         0.70               1-3
   FRI                                           DAILY TOTALS                                        1.70         0.00

                                      WEEKLY TOTAL - ( W/E 12/23/23 )                               35.10        0.00

12/26/2023      EH        Cash forecast update                                                        2.10               1-1
12/26/2023      EH        responding to various emails related to Lordstown bankruptcy                0.70               4-2
12/26/2023      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
 TUES                                            DAILY TOTALS                                        3.30         0.00




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  Date       Consultant                            Description                                Billable    No Charge


12/27/2023      EH        Weekly finance meeting                                                   1.00               2-1
12/27/2023      EH        Cash forecast update                                                     3.50               1-1
12/27/2023      EH        responding to various emails related to Lordstown bankruptcy             0.70               4-2
12/27/2023      EH        Administrative activities relating to the bankruptcy                     0.50               4-2
  WED                                           DAILY TOTALS                                      5.70         0.00

12/28/2023      EH        W&C update call                                                          0.60               4-2
12/28/2023      EH        Call with D. Tsitsis, A. Crnkovich to discuss claims reserve             0.50               4-2
12/28/2023      EH        Cash forecast update / Distribution calculation                          2.50               1-1
12/28/2023      EH        responding to various emails related to Lordstown bankruptcy             0.50               4-2
12/28/2023      EH        Administrative activities relating to the bankruptcy                     0.50               4-2
12/28/2023      EH        Supplier claims call                                                     0.70               4-2
 THUR                                           DAILY TOTALS                                      5.30         0.00

12/29/2023      EH        responding to various emails related to Lordstown bankruptcy             0.50               4-2
12/29/2023      EH        Administrative activities relating to the bankruptcy                     0.50               4-2
   FRI                                          DAILY TOTALS                                      1.00         0.00

                                     WEEKLY TOTAL - ( W/E 12/31/23 )                             15.30        0.00

                                  TOTAL - (December 1 to December 31, 2023 )                    119.60        0.00




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  Date       Consultant                             Description                           Time


12/1/2023       SAN       November MOR                                                          1.50   4-3
   FRI                                           DAILY TOTALS                                  1.50

                                      WEEKLY TOTAL - ( W/E 12/2/23 )                           1.50

12/4/2023       SAN       November MOR                                                          0.40   4-3
  MON                                            DAILY TOTALS                                  0.40

12/8/2023       SAN       November MOR                                                          0.20   4-3
   FRI                                           DAILY TOTALS                                  0.20

                                      WEEKLY TOTAL - ( W/E 12/9/23 )                          0.60

12/14/2023      SAN       November MOR                                                          1.40   4-3
 THUR                                            DAILY TOTALS                                  1.40

                                      WEEKLY TOTAL - ( W/E 12/16/23 )                          1.40

                          Nov. MOR (4.9 hrs); Amended Sept and Oct MOR for LEVS (1.4
12/18/2023      SAN       hrs)                                                                  6.30   4-3
  MON                                            DAILY TOTALS                                  6.30

12/21/2023      SAN       Call w/ S. Kohler re post-confirmation activities                     0.50   4-2
 THUR                                            DAILY TOTALS                                  0.50

                                      WEEKLY TOTAL - ( W/E 12/23/23 )                         6.80


                                  TOTAL - (December 1 to December 31, 2023 )                  10.30
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Silverman Consulting
Fee Application - Expenses
Lordstown Motor Corporation                                                                                                                        Case No. 23-10831


Consultant     Date       # People                                      Description                                                   Reason             Category      Billable
    MM       12/6/2023        1      Shipping and container cost for Lordstown laptop back to Farmington Hills office   Equipment return           Administrative      $     167.36
                                                                       TOTAL MM                                                                                             167.36

Consultant     Date       # People                                      Description                                                   Reason             Category      Billable
    WB       12/20/2023       1      UPS Charges - Vendor Prepaids With No Claims Letters - Round 2                     Shipping Vendor Notices    Administrative      $     694.17
    WB       12/29/2023       1      UPS Charges - Vendor Prepaids With No Claims Letters                               Shipping Vendor Notices    Administrative      $     460.15
                                                                        TOTAL WB                                                                                           1,154.32

                                                            TOTAL DECEMBER 1-31, 2023                                                                                      1,321.68




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